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                                                           FILED: February 23, 2023


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT


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                                       No. 23-1059
                                     (10-CC-276241)
                                     (10-CE-271046)
                                     (10-CE-271053)
                                     (10-CC-276207)
                                     (10-CE-276221)
                                     (10-CC-276208)
                                     (10-CE-271047)
                                     (10-CE-271052)
                                     (10-CE-276185)
                                  ___________________

        SOUTH CAROLINA STATE PORTS AUTHORITY

                    Petitioner

        THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME
        ALLIANCE, LTD.

                    Intervenors

        v.

        NATIONAL LABOR RELATIONS BOARD

                    Respondent

        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION, LOCAL 1422;
        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION
USCA4 Appeal: 23-1059     Doc: 38         Filed: 02/23/2023     Pg: 2 of 2




                     Intervenors

                                        ___________________

                                             ORDER
                                        ___________________

              Upon consideration of submissions relative to the motion to expedite filed by

        South Carolina State Ports Authority, the court grants the motion. The briefing

        schedule is as follows:

              March 17, 2023 – Agency record due

              March 31, 2023 – Petitioners’ brief due, requiring a single brief of 16,000
                               words.

              April 28, 2023 –      Respondents’ brief due, requiring a single brief of 16,000
                                    words.

              May 12, 2023 –        USMX’s brief due, requiring a single brief of 13,000
                                    words.

              May 26, 2023 –        Petitioners’ reply brief and responses to USMX’s brief
                                    due, requiring a single brief of 6,500 words.

                                                For the Court

                                                /s/ Patricia S. Connor, Clerk
